
USCA1 Opinion

	










          July 18, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-2323


                                    UNITED STATES,

                                      Appellee,

                                          v.

                           MARCELINA ENRIQUE ADAMES-SANTOS,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Michael c. Shklar on brief for appellant.
            _________________
            Sheldon Whitehouse, United States Attorney,  and Zechariah Chafee,
            __________________                               ________________
        Assistant United States Attorney, on brief for appellee.


                                 ____________________


                                 ____________________




                      Per  Curiam.     Marcelina  Enrique   Adames-Santos
                      ___________
















            appeals  his  conviction  on  three grounds.    We  summarily

            affirm.

                      I.  Brady Violation
                          _______________

                      The first argument is that the government's failure

            to disclose prior  to trial the identity  of the confidential

            informant Miguel Morel, violated  Brady v. Maryland, 373 U.S.
                                              _____    ________

            83   (1963).     "[F]avorable  evidence   is  material,   and

            constitutional  error  results from  its  suppression  by the

            government, 'if  there is a reasonable  probability that, had

            the evidence been disclosed to the defense, the result of the

            proceeding would  have been  different.'"  Kyles  v. Whitley,
                                                       _____     _______

            115  S. Ct.  1555,  1565 (1995).    The Brady  rule does  not
                                                    _____

            require the  prosecution to reveal before trial  the names of

            all witnesses  who will testify  against the defendant.   See
                                                                      ___

            Weatherford v. Bursey, 429 U.S. 545, 559  (1977).   "There is
            ___________    ______

            no requirement under  F.R. Crim.  P. 16 or  otherwise in  the

            law, mandating the disclosure to the defense  of the identity

            of the government's trial witnesses. . . .  [T]he decision to

            admit the testimony or  evidence is within the  discretion of

            the  trial judge."   United States v.  Reis, 788  F.2d 54, 58
                                 _____________     ____

            (1st Cir. 1986); see  also United States v. Edwards,  47 F.3d
                             ___  ____ _____________    _______

            841,  843 (7th  Cir.  1995)  ("It  is well-settled  that  the

            Constitution   does  not   require  pretrial   disclosure  of

            prosecution witnesses.")





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                      Appellant   has   failed  to   show   a  reasonable

            probability  that if he had been informed of Morel's identity

            prior  to trial, the result of the proceeding would have been

            different.  Morel testified  on  cross-examination  that  the

            money  he earned  as an  informant for  the Drug  Enforcement

            Administration  ("DEA") was his main source  of income.  Even

            now, appellant has failed to identify any additional evidence

            that  could have been  used to  further impeach  the witness.

            The  government's failure to  disclose Morel's identity prior

            to trial does not undermine confidence in the jury's verdict.

            See  Kyles, 115  S. Ct.  at 1566.   Therefore,  there was  no
            ___  _____

            constitutional violation.

                      II.  Sufficiency of the Evidence
                           ___________________________

                      To establish  a violation of  21 U.S.C.    846, the

            government is required to show, beyond a reasonable doubt, in

            addition to the existence of the conspiracy itself, an intent

            on the  part  of the  defendant:   "to  agree and  . .  .  to

            effectuate  the commission  of  the substantive  offense.   A

            defendant need not have  had the intent personally  to commit

            the substantive crime."  United States v. Piper, 35 F.3d 611,
                                     _____________    _____

            615  (1st Cir. 1994), cert.  denied, 115 S.  Ct. 1118 (1995).
                                  _____________

            The government establishes  the requisite  intent by  proving

            beyond  a reasonable  doubt that  the defendant  "agree[d] to

            undertake  activities  that  facilitate[d]  commission  of  a

            substantive offense, [notwithstanding that he did] not intend



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            to  commit  the offense  himself."   Id.1   "[T]he Government
                                                    1
                                                 ___

            need  not  prove   the  commission  of  any  overt   acts  in

            furtherance of  the conspiracy."   United States  v. Shabani,
                                               _____________     _______

            115 S. Ct. 382, 385 (1994).

                      "When a criminal defendant undertakes a sufficiency

            challenge, all the evidence,  direct and circumstantial, must

            be viewed  from the  government's coign  of vantage, and  the

            viewer must accept all reasonable inferences from it that are

            consistent  with the  verdict."   United States v.  Valle, 72
                                              _____________     _____

            F.3d 210, 216  (1st Cir.  1995). The  government's burden  of

            proof "may  be satisfied  by either direct  or circumstantial

            evidence,  or any  combination  thereof."   United States  v.
                                                        _____________

            Gifford, 17 F.3d 462, 467 (1st Cir. 1994).  
            _______

                      The evidence  presented to the jury  was sufficient

            to sustain defendant's guilty  verdict.  The record contains,

            among  other evidence, accounts  of frequent meetings between

            Morel, Domingo Peguero and  appellant in which they discussed

            drugs and,  specifically, ways to "make  some transactions of

            crack."   Morel  recounted a  specific conversation  in which

            appellant said that  he had  contacts in New  York who  could

            supply crack  to Morel's  contacts in  Boston.   The evidence

            also  included  the  transcript  of  a  telephone  call  from


                                
            ____________________

               1Defendant  argues that  the  evidence does  not show  "an
               1
            intent  on  the defendant's  part to  engage  in the  sale of
            crack." Appellant's  Brief,  p.  15.    No  such  showing  is
            required,however.

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            appellant to Morel, made  for the purpose of  notifying Morel

            that Peguero was in Boston "doing business" and that "in case

            these  people call you, tell  them to hold  on until Monday."

            DEA  agents  testified  that   during  the  October  30  drug

            transaction, appellant was circlingthe area in Peguero's car.

                      "[I]t is not a pre-requisite of conviction that the

            prosecution  adduce  evidence to  preclude  'every reasonable

            hypothesis of innocence.'"  United States v.  Montas, 41 F.3d
                                        _____________     ______

            775,  779  (1st Cir.  1994), cert.  denied,  115 S.  Ct. 1986
                                         _____________

            (1995).     In  addition,   this  court  must   "resolve  all

            credibility disputes in the  verdict's favor."  United States
                                                            _____________

            v. Taylor, 54  F.3d 967, 974 (1st Cir. 1995).   Our review of
               ______

            the record persuades us that a rational jury could have found

            beyond   a  reasonable   doubt   that   the  government   had

            successfully proved the essential elements  of the conspiracy

            charge.

                      III.  Failure to Grant Mistrial
                            _________________________

                      Appellant's  final argument  is  that the  district

            court  erred  in  not  granting  a mistrial  because  of  the

            testimony by DEA agent John D. Adams that  he had purchased a

            firearm  from  Peguero.    "[B]ecause  mistrials  are  strong

            medicine,  . .  .  it  is only  rarely  --  and in  extremely

            compelling circumstances -- that an appellate panel, informed

            by a cold record, will venture to reverse a trial judge's on-

            the-spot  decision  that  the  interests of  justice  do  not



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            require aborting an ongoing trial."  United States v. Pierro,
                                                 _____________    ______

            32 F.3d  611, 617 (1st Cir.  1994), cert. denied,  115 S. Ct.
                                                ____________

            919 (1995).   In United  States v. Sepulveda,  15 F.3d  1161,
                             ______________    _________

            1184-85  (1st Cir.  1993),  cert.  denied,  114 S.  Ct.  2714
                                        _____________

            (1994), this  court identified  three factors that  should be

            considered in reviewing a district court's decision to deny a

            mistrial: 1) the appropriateness of the curative instruction,

            2)  the  swiftness  of  the  judicial  response, and  3)  the

            presumption  that  jurors  will  follow  a   direct  curative

            instruction.

                      In  this case, consideration of the three Sepulveda
                                                                _________

            factors indicates  that there was  no abuse of  discretion in

            the  district  court's decision  to  deny a  mistrial  or its

            failure to  revisit the issue  sua sponte  at the end  of the
                                           ___ ______

            trial.    The  court's  curative instructions,  given  almost

            immediately after  the  testimony in  question,  were  swift,

            clear and direct.  There was no room for misinterpretation by

            the jurors regarding the meaning of the court's instructions.

            Finally, appellant's claim that  the evidence against him was

            so weak that  the jurors  must have relied  upon the  firearm

            testimony is belied by  the record.  As discussed  above, the

            evidence was sufficient to support the conviction.  Appellant

            has failed  to rebut the  presumption that the  jury followed

            the court's curative instructions.





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                      Appellant's  conviction is summarily affirmed.  See
                                                 _________ ________   ___

            Loc. R. 27.1.

















































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